     Case 1:14-ml-02570-RLY-TAB
                 Case MDL No. 2570 Document
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Laura A. Briggs, Clerk
U.S. District Court
Southern District of Indiana
                                                                                                   FILED
                                         UNITED STATES JUDICIAL PANEL
By
                                                                                            4:39 pm, Nov 08, 2017
                                                      on
                      Deputy Clerk        MULTIDISTRICT LITIGATION                           U.S. DISTRICT COURT
                                                                                         SOUTHERN DISTRICT OF INDIANA
                                                                                               Laura A. Briggs, Clerk

           IN RE: COOK MEDICAL, INC., IVC FILTERS
           MARKETING, SALES PRACTICES AND
           PRODUCTS LIABILITY LITIGATION                                                           MDL No. 2570


                                             (SEE ATTACHED SCHEDULE)


                           ORDER LIFTING CONDITIONAL TRANSFER ORDERS
                     AND VACATING THE NOVEMBER 30, 2017, HEARING SESSION ORDER


                   Conditional transfer orders were filed in the actions on the attached schedule on August 22
           and 29, 2017. Prior to expiration of that order’s 7-day stay of transmittal, plaintiffs in the actions
           filed a notice of opposition to the proposed transfers. Plaintiffs later filed a motion and brief to
           vacate the conditional transfer orders. The Panel has now been advised that plaintiffs have
           withdrawn their opposition to transfer.

                   IT IS THEREFORE ORDERED that the stays of the Panel's conditional transfer orders
           designated as “CTO-50 and 52” filed on August 22 and 29, 2017, are LIFTED. The actions are
           transferred to the Southern District of Indiana for inclusion in the coordinated or consolidated pretrial
           proceedings under 28 U.S.C. § 1407 being conducted by the Honorable Richard L. Young.

                  IT IS FURTHER ORDERED that the Hearing Session Order and the attached Schedule filed
           on October 17, 2017, are VACATED insofar as they relate to these actions.


                                                                   FOR THE PANEL:



                                                                   Jeffery N. Lüthi
                                                                   Clerk of the Panel
Case 1:14-ml-02570-RLY-TAB
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                                    38965



                           UNITED STATES JUDICIAL PANEL
                                        on
                            MULTIDISTRICT LITIGATION



   IN RE: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND
   PRODUCTS LIABILITY LITIGATION                                               MDL No. 2570



                                     SCHEDULE A



         DIST            DIV.        C.A.NO.           CASE CAPTION

         CALIFORNIA CENTRAL                      SD/IN Cause No. 1:17-6082-RLY-TAB
         CAC           2             17−06351          Janet Tew v. Kevin Rice et al
                                                SD/IN Cause No. 1:17-cv-06083-RLY-TAB
         CALIFORNIA EASTERN
         CAE            2            17−01731          Pierce v. Frink et al
